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IN THE UNITED STATES DISTRICT COUR'[$‘¢(/@/ `\O
FOR THE WESTERN DISTRICT OF TENNESSEE 0 1004 0

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pa / "’" .,!'Pj’( '?_
UNITED sTArEs oF AMERICA, at jo ‘O
Piaintiff, %’QV /
vs. No. 05-10007_r
sch ELMo PETERsoN,
Defendant.

ORDER CONTINUING TRlAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant Eric Elmo Peterson, Without objection from the
government and for good cause shown, the report date Which is scheduled for August ll, 2005,
and the trial date Which is currently scheduled for August 24, 2005, are hereby continued
Defendant contends that additional time is needed for preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinglv. the trial is continued from August 24, 2005. to September 8.

2005 at 9:30 A.M. The resulting period of delay, from August 24, 2005, to September 8,

 

2005, is excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).
The report/motion date has been reset for August 29, 2005, at 8:30 a.m. Defendant is

granted an additional twenty (20) days for filing pre-trial motions.

WD~QOM

J ES D. TODD
ITED STATES DISTRICT .TUDGE

/D ward SMs/'

DATE U

IT IS SO ORDERED.

 

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with Rule 55 and/or 32(|:)) FHCrP on

 

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Honorable J ames Todd
US DISTRICT COURT

